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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



IN RE EQUIFAX, INC. CUSTOMER                 MDL DOCKET NO. 2800
DATA SECURITY BREACH                         1:17-md-2800-TWT
LITIGATION
                                             CONSUMER CASES


        [PROPOSED] ORDER STAYING BRIEFING DEADLINES

      This Court has considered the Defendant’s Motion to Stay Briefing

Deadlines or, in the Alternative, for an Extension of Time.      The Motion is

GRANTED. Equifax’s deadlines to respond to the motions to remand filed in

Abramson v. Equifax Inc., Case No. 1:18-CV-1466-TWT and Acosta-Smith v.

Equifax Inc., Case No. 1:18-CV-1467-TWT, and the motion for attorney’s fees

filed in Casper v. Equifax Inc., Case No. 1:18-CV-1511-TWT, are stayed until the

Court can consider a proposed Case Management Order (“CMO”) to uniformly

govern the resolution of those and any subsequent similar motions, such proposed

CMO to be submitted by the Parties or Equifax by June 6, 2018.

      SO ORDERED, this ____ day of May, 2018.

                              ________________________________
                              THOMAS W. THRASH, JR.
                              CHIEF UNITED STATES DISTRICT JUDGE
